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MELISSA W. COOK, ESQ.; SBN 134791
mwecoast@aoi.com

ERIN E. DAVIS, ESQ.; SBN 259453
ee.davis@sbcglobal.net

MELISSA W. COOK & ASSOCIATES
3444 Camino del Rio North, Suite 106
San Diego, California 92108

Telephone: (619) 280-4302

Facsimile: (619) 280-4304

Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE Case No. 08 CV-00498-LJO-JLT
KERN COUNTY ELECTRICAL

PENSION FUND, BOARD OF MEMORANDUM OF POINTS AND
TRUSTEES OF THE KERN COUNTY ) AUTHORITIES IN SUPPORT OF
ELECTRICAL WORKERS HEALTH ) PLAINTIFFS’ APPLICATION FOR -
& WELFARE TRUST, AND BOARD ) DEFAULT JUDGMENT BY COURT

OF TRUSTEES OF THE KERN AGAINST DEFENDANTS
COUNTY ELECTRICAL CHRISTOPHER BURGONI AND
JOURNEYMAN AND TADOC ENTERPRISES, INC.
APPRENTICE TRAINING TRUST,
Plaintiffs,
v.
| Hearing Date: June 1, 2012
CHRISTOPHER BURGONI, an Time: 9:00 am
individual, and doing business as Courtroom: Suite A

ALPHA OMEGA ELECTRIC; Judge: Hon. Jennifer Thurston
TADOC ENTERPRISES, INC., a

California corporation doing business

as ALPHA OMEGA ELECIRIC;

FULCE ENTERPRISES, INC., a

California corporation, and DOES 1 .

through 50, inclusive, Complaint Filed: April 10, 2008

Defendants.

Plaintiffs, Board of Trustees of the Kern County Electrical Pension Fund,
Board of Trustees of the Kern County Electrical Workers Health & Welfare Trust,
and Board of Trustees of the Kern County Electrical Journeyman and Apprentice
Training Trust (“Plaintiffs”) submit the following memorandum of points and

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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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authorities in support of its Application for Default Judgment against Defendants
Christopher Burgoni and Tadoc Enterprises, Inc. (collectively, “Alpha Omega”).
I.
INTRODUCTION

In this ERISA collection action Plaintiffs seek to recover employee benefit
contributions, liquidated damages, attorney’s fees and audit fees for contributions
owed for the months of July 6, 2000 through December 31, 2007. The total amount
owed for contributions, liquidated damages, attorney’s fees and audit fees, as set
forth below and in the declarations filed herewith, is $308,520.36.

While Defendants have appeared in this action, due to their failure to comply -
with this Court’s orders on several occasions, this Court ordered Defendants’
answers stricken, and default was entered against the Defendants on December 21,
2011. Considering this Memorandum of Points and Authorities and the other
declarations, exhibits and papers filed herewith, a default judgment against
Defendants Christopher Burgoni and Tadoc Enterprises, Inc., is proper.!

Il.
STATEMENT OF FACTS

On or about July 6, 2000, Christopher Burgoni (“Burgoni”) doing
business as Alpha Omega Electric (“Alpha Omega”) executed an agreement in
writing entitled “Letter of Assent”, which thereby bound Alpha Omega to a
Collective Bargaining Agreement between the Kern County Chapter of the National
Electrical Contractor’s Association and the International Brotherhood of Electrical
Workers Local 428 (“CBA”). See the Declaration of Billie Hanner in Support of
Application for Default Judgment (“Hanner Decl.”) at ¥ 2, submitted herewith.
Alpha Omega was selected for a compliance audit, as required by the Trust

Agreements for the Plaintiff Trust Funds. As a result, Plaintiffs demanded that

‘Plaintiffs decline to attempt to seek a default judgment against Defendant Fulce Enterprises, and will file a
Dismissal against Fuice Enterprises concurrently with this Application for Default Judgment.

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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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Alpha Omega submit to a financial audit to ensure compliance with the CBA.
Alpha Omega refused, and this lawsuit was initially filed to compel and audit and
collect any amounts determined to be owed. Alpha Omega eventually agreed to
provide Plaintiffs with access to its books and records, and an audit took place in .
early 2009. .

The auditor discovered that Alpha Omega Electric had hired subcontractors

to perform work covered by the CBA from the time period of August 2004 through
November 2006, in violation of the CBA. See Declaration of Michael Surowitz
(“Surrowitz Decl.”) submitted herewith at Ff] 3, 6. The auditor also discovered that
Defendant Burgoni became partners with another individual and formed Defendant
Tadoc Enterprises, Inc., dba Alpha Omega Electric, on October 10, 2006. See
Surrowitz Decl. at ] 3. During this time that Alpha Omega continued operating, it
failed to pay contributions to Plaintiffs, in violation of the CBA. See Surrowitz
Decl. at J] 4-6.
III.
ARGUMENT

A. PLAINTIFF IS ENTITLED TO RECOVER CONTRIBUTIONS,

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Plaintiff is entitled to entry of a default judgment against Defendants

Christopher Burgoni and Tadoc Enterprises, Inc., collectively doing business as

Alpha Omega Electric.
1. Liabil ity

Upon default, well-pleaded allegations relating to liability are taken as true.
TeleVideo Systems, Inc. v. Heidenthal, 826 F.2d 915, 917 (9th Cir. 1987). Alpha
Omega violated ERISA section 515, 29 U.S.C. § 1145, by failing to pay
contributions and submit monthly reports, as required pursuant to the CBA and
Declarations of Trust for the Plaintiff Trust Funds. See First Amended Complaint,
{J 22-24, Hanner Decl. at { 12, Surowitz Decl. at § 6. Alpha Omega owes

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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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contributions for the time period of August 2004 through December 2007.
Additionally, pursuant to Alpha Omega’s CBA, which binds Alpha Omega to the
terms and conditions of the Declarations of Trust for the Plaintiff Trust Funds, and
ERISA section 502(g), 29 U.S.C. § 1132(g), Plaintiffs are entitled to liquidated
damages, interest, audit fees and attorney’s fees and costs. To establish a claim
based on ERISA section 515, 29 U.S.C. § 1145, a plaintiff must demonstrate: (1)
the trust fund is a multiemployer plan as defined by Section 3(1) of ERISA, 29
U.S.C, § 1002(37)(A); (2) defendant is an employer obligated to pay contributions
in accordance with the plan; and (3) defendant failed to pay contributions in
accordance with the plan. Plaintiffs’ First Amended Complaint plainly alleges these
elements, as do this Application for Default J udgment and the Declarations of Billie
Hanner, Michael Surowitz and Erin E. Davis, submitted herewith. Taking these
allegations as true, Plaintiffs have established liability against Alpha Omega for
violation of ERISA section 515, 29 U.S.C. § 1145.

il. Damages

Plaintiffs submit proof of the damages incurred in the Surowitz Decl. and
Hanner Decl., and exhibits to same, submitted herewith. As the Court can see from
the Surowitz Decl., the amounts owed to Plaintiffs are broken down as follows: (1)
unpaid contributions for August 2004 through December 2007totaling $264,287.63;
and (2) liquidated damages for the same months totaling $24,026.15. See Surowitz
Decl. at Jf 6-8.

As liability has been established and the amount owed to Plaintiffs, as listed
above, has been properly authenticated, Plaintiffs respectfully asks that this Court
award monetary damages to Plaintiffs in the amount of $288,313.78.

iti. Attorney Fees and Costs
Where by contract or statute a plaintiffis entitled to reasonable attorney fees
and costs, the court may award such fees and costs in a default judgment. James v.
Frame, 6 F.3d 307, 311 th Cir. 1993).
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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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Here, the CBA, to which Alpha Omega is bound, as well as ERISA section
502(g), 29 U.S.C. § 1132(g), provide that Plaintiffs are entitled to reasonable fees
and costs. See Hanner Decl. at 75. Plaintiffs have expended $38,327.51 in attorney
fees and $2,546.75 in costs since the time that Plaintiffs became aware of Alpha
Omega’s delinquency for fees incurred in an attempt to collect contributions from
the employer. See Declaration of Erin E. Davis (“Davis Decl.”) at ¥ 7.

Plaintiffs’ request for attorney fees is reasonable. Plaintiffs’ current and prior
attorneys have spent 173.3 hours working on this matter since the inception of the
case in 2008. These hours were spent by Plaintiffs’ current counsel reviewing and
analyzing former counsel’s files and becoming familiar with the litigation in
progress, preparing the First Amended Complaint, negotiating with Defendants’
former counsel regarding document production, preparing formal discovery,
preparing a Motion to Compel, telephonically attending a hearing on the same,
reviewing filed documents, preparing a response brief to Defendants’ counsel’s
Motion to Withdraw, begin preparing a Motion for Summary Judgment, preparing
a response to this Court’s Report and Recommendations, and preparing this
Application for Default Judgment and related documents, in addition to the work
performed by Plaintiffs’ former counsel as established by the billing records
attached as Exhibit “A” to the Davis Decl., submitted herewith. See Davis Decl. at
46. Given the length of time Plaintiffs’ counsel has spent working on this matter,
and the fact that the vast majority of the legal fees are the result of Defendants’
continued refusal to cooperate and produce its records for audit, produce discovery
or participate in the litigation in any meaningful way, the amount of hours expended
by Plaintiffs’ counsel is reasonable. Additionally, the hourly rates charged by
Plaintiffs’ counsels, ranging from $95.00 to $250.00, are reasonable, as it
comparable to, or lower than, prevailing market rates for ERISA attorneys in major
metropolitan areas in California. An hourly rate of $450 was approved in an ERISA
action coming out of the this District Court. Schofield v. Metro Life Ins. Co., 2009

5.

Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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U.S. Dist. LEXIS 36312, 8-9 (E.D. Cal. Apr. 16, 2009). Rates cited in other district
court cases are also relevant to determining the prevailing market rate. United
Steelworkers of America v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990)
(“rate determinations in other cases, particularly those setting a rate for the
plaintiffs’ attorney, are satisfactory evidence of the prevailing market rate.”). In
Joas v, Reliance Std. Life Ins. Co., 2008 U.S. Dist. LEXIS 33017, 12-13 (S.D. Cal.,
Dec. 11, 2008), an hourly rate of $350 was approved for an experienced litigator
who had minimal ERISA experience. Because ERISA is a fairly specialized
practice area for lawyers throughout the State, the Court should consider rates from
other federal districts in California. In Welch v. Metro Life Ins. Co., 480 F.3d 942
(9th Cir. 2007) an hourly rate of $375 was approved for a prevailing ERISA
plaintiff in a case from the Central District of California. .

Plaintiffs’ requests for costs in the amount of $2,546.75 is also reasonable,
as the Trust Agreements provide for the award of all costs in addition to attorney’s
fees. See Hanner Decl. at { 6.

With regard to audit fees, the Trust Agreements, to which Alpha Omega is

bound through the CBA, provide that in the event where an audit reveals that an

employer failed to correctly report and pay the contributions in accordance with the
Trust Agreements, that employer shall be liable for the hourly charge for an audit.

See Hanner Decl. at 16. To date, the Trust Funds have incurred $3,358.47 in audit
fees. Accordingly, Plaintiffs respectfully requests that the court award Plaintiffs’
attorney and audit fees in the combined amount of $44,232.73.

iv. Default Judgment

- Based on a balancing of the factors outlined in Eitel v. McCool, 782 F.2d
1470, 1471 (9th Cir. 1986), Plaintiffs have met the substantive requirements to

allow a court to enter a default judgment. Using these factors, the Ninth Circuit

\iconsiders the following when entering a default judgment: (1) the substantive merit

of the claims; (2) the sufficiency of the complaint; (3) the amount of money at stake;

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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

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(4) the possibility of prejudice to plaintiff if relief is denied; (5) the possibility of
dispute as to any material facts in the case; (6) whether default resulted from
excusable neglect; and (7) the strong policy of favoring decisions on the merits, Ja.
For the reasons mentioned above, Plaintiffs respectfully request that the Court
find that a default judgment is warranted in this case. Plaintiffs have proven that
Alpha Omega was required to submit contributions to the Trust Funds for the entire
period for which it was signatory to the CBA and operating under its namesake, and
failed to do so. Plaintiffs will be prejudiced in their ability to enforce their rights
under the CBA and pursuant to ERISA section 515, 29 U.S.C. § 1145, absent a
default judgment. Plaintiffs served Defendant Burgoni and Defendant Tadoc
Enterprises with the First Amended Complaint, and their continued refusal to -
participate in the litigation process or comply with this Court’s orders is nota result
of excusable neglect. Without the Defendants’ cooperation, it is impossible for this
Court to determine the possibility of dispute as to any material facts, though

Plaintiffs maintain that there are none. All of these factors together mitigate against

the strong policy of favoring decisions on the merits.
IV.
CONCLUSION
It is respectfully submitted that Plaintiffs are entitled to default judgment

according to the proof submitted.

DATED: April _26_, 2012 MELISSA W. COOK & ASSOCIATES

By:/s/Erin E. Davis
Melissa W. Cook
Erin E. Davis
Attorneys for Plaintiffs

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Memo. of Points In Support of Plaintiffs’ App. for Default Judgment by Court Case No. 08 CV-00498-LJO-JLT

